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 1             &
                             IN THE UNITED STATES DISTRICT COURT
 2
                              FOR THE CENTRAL DISTRICT OF UTAH
 3
 4              OL PRIVATE COUNSEL,                )    30(b)(6) Deposition of
                LLC, a Utah limited                )
 5              liability company,                 )    OL Private Counsel, LLC
                                                   )    through:
 6                     Plaintiff,                  )
                                                   )    Thomas Olson
 7              vs.                                )
                                                   )    Civil No. 2:21-CV-00455-DBB
 8              EPHRAIM OLSON, an                  )
 9              individual,                        )    Judge David Barlow
10                                                 )    Magistrate Daphne A. Oberg
11                     Defendants.                 )
12
13
14
15
16                               February 15, 2023 * 9:00 a.m.
17
18                                 Location:      Fabian VanCott
19                           95 South State Street, Suite 2300
20                                 Salt Lake City, Utah 84111
21
22
23
24                              Reporter:      Diana Kent, RPR, CRR
25                     Notary Public in and for the State of Utah

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     1     Q. Do you know their names?                              1 documents which would support the information in the
     2     A. No, I don't know the name of the person or            2 last column of this table?
     3 persons who assembled this information for me.               3     A. There would be some kind of computer
     4     Q. Okay. Do you know the source material for             4 record, I assume, that would show that. I'm assuming
     5 the columns?                                                 5 that.
     6     A. This would have been -- it would have been            6     Q. Okay. The allegations in this case,
     7 off the computer record, but I'm not sure exactly what       7 Mr. Olson, and I am paraphrasing here, I realize this
     8 portion of the computer record would have this.              8 will not be correct, but are generally that Ephraim
     9     Q. Okay. If you could turn to the last page.             9 Olson improperly obtained access to OLPC's private
    10 Just above the mid-point of the document you see an         10 confidential information. Is that your understanding
    11 entry for OL Private Counsel Ephraim Olson. Do you see      11 of the general nature of this lawsuit?
    12 that?                                                       12         MR. JORDAN: Objection. Misstates the
    13     A. I see that.                                          13 pleadings.
    14     Q. Okay. And this document purports to                  14     A. Got access to documents, yes. He got
    15 represent that his access to the server started prior       15 access to documents to which he wasn't entitled to get.
    16 to January 1, 2018. Do you see that?                        16     Q. Okay. Let's go through those documents.
    17     A. I see that.                                          17         (EXHIBIT 12 WAS MARKED.)
    18     Q. Do you know the date that that access                18     Q. Mr. Olson, do you recognize this document?
    19 started?                                                    19     A. I do recognize the document, yes.
    20     A. I think I mentioned earlier, I don't know            20     Q. What is it?
    21 when he first got access to the servers.                    21     A. It looks like it's a summary of trusts
    22     Q. Okay. And it says that the access to the             22 with some information, well, it speaks for itself, but
    23 server ended on September 1, 2019. Do you see that?         23 summarizing information about the trust.
    24     A. I see that.                                          24     Q. Who created this document?
    25     Q. Where did that date come from?                       25     A. It would have been created by one of the
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     1     A. It came from the computer logs, I assume,             1 lawyers.
     2 that they gathered, whatever computer records they had       2     Q. For which entity?
     3 to gather to demonstrate this.                               3     A. Well, one of the lawyers for the firm
     4     Q. So you think there are documents that back            4 would have summarized this for all of the trusts.
     5 up this table?                                               5     Q. And what firm are you talking about?
     6     A. I assume there's some kind of a computer              6     A. Well, this would have probably been done
     7 log that shows that.                                         7 in ITCL, but it could have been prepared somewhere
     8     Q. Okay. And then it says he had access to               8 else. But probably ITCL.
     9 client files on matters for which the individual was         9     Q. Okay. Do you know when it was created?
    10 performing those services. Do you see that?                 10     A. I don't know the date it was created.
    11     A. I see that.                                          11     Q. Was it created for OLPC?
    12     Q. It says that for everyone; is that correct?          12     A. It was created for use by any lawyers that
    13     A. Right.                                               13 had need to look at this information.
    14     Q. Okay. Where does that information come               14     Q. And who did those lawyers -- what entity
    15 from?                                                       15 did those lawyers work for?
    16     A. That would be on some kind of a computer             16     A. They could have worked for or could have
    17 record that showed accesses to -- showing that -- that      17 been contractors with OLPTE, ICL, they could have been
    18 phrase refers to, as I -- I can't say. Those are not        18 any of the contractors that had a need to go through
    19 my words, so I believe it just means -- I'm                 19 this particular information on a client, on a trust.
    20 speculating.                                                20     Q. Does this document -- to which client does
    21     Q. Do you know whose words they are?                    21 this document refer, the individual or the -- yeah, to
    22     A. That would either be the words that come             22 which client does this document refer?
    23 off the computer, or the words that some IT person          23     A. Sorry?
    24 would have put in there.                                    24     Q. Does this document refer to a specific
    25     Q. Okay. So again, you think that there are             25 client of OLPCCIL?
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     1      A. It refers to information that OLPCCIL had            1     A. No. They were given the option. OL, LLP
     2 in its possession on behalf of several different             2 was winding down. Some clients requested to stay with
     3 clients.                                                     3 OL, LLP. The rest had transferred over, agreed to
     4      Q. And who are those clients?                           4 transfer over.
     5      A. Well, the Olson estate trust would have              5     Q. I thought you said Olson Lemons was winding
     6 been -- that document would have been in the possession      6 down.
     7 from when the trust was first settled. The trustee, I        7     A. Yes.
     8 believe at the time, was -- I don't recall who the           8     Q. So who requested to stay with the company
     9 trustee was at the time this document was produced.          9 that was winding down?
    10          White Buffalo Trust was first received             10     A. Clients -- there were some clients that
    11 when Bruce Lemons settled the trust. And the law firm       11 had a short-term relationship -- they did not perceive
    12 continued and continues to represent the trustees of        12 to have a longer term relationship, so they were happy
    13 the trust, as well as at times a protector.                 13 to stay with Olson Lemons as it wound down.
    14          Carolyn Olson Spousal Trust was first              14     Q. Okay. What corporate entity maintains
    15 obtained when I settled the trust.                          15 possession of this document?
    16          Waterland Trust was obtained when Bruce            16     A. Those were all kept by OLPCCIL.
    17 Lemons first settled that trust.                            17     Q. Okay. Is this a document that OLPC
    18          Thomas H. Olson Trust was obtained when            18 alleges Ephraim Olson improperly obtained from the
    19 Thomas and Carolyn first settled the trust.                 19 server?
    20          Olson Manitoba Conservation Trust was              20     A. Yes.
    21 obtained when Jack Hardy Olson first settled the trust.     21     Q. Does OLPC have any evidence to support the
    22          William Bell Hardy Trust was obtained when         22 claim that Ephraim Olson obtained this document from
    23 Marlene Olson first settled the trust.                      23 the server?
    24          Ruth Doxey Family Trust was first obtained         24     A. Yes.
    25 when Ruth Doxey settled the trust.                          25     Q. What is that evidence?
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     1          And the George Whitehead Family Trust was           1     A. He obtained it and it was obtained, as I
     2 first obtained when Marlene Olson first settled the          2 understand, when a former employee was able to get into
     3 trust.                                                       3 the system, get access to this document, and forward it
     4      Q. And you are using the phrase "obtained."             4 to Ephraim.
     5 Do you mean that OLPCCIL obtained the client when the        5     Q. And is that former employee Tim A.?
     6 trust was first settled?                                     6     A. Yes. Ti Akarapanich. That's correct.
     7      A. That's correct. When these settlors                  7     Q. Does OLPC have any evidence that Ephraim
     8 settled the trust, we represented the settlor when the       8 Olson has shared this document with anyone but his
     9 settlor first settled these trusts.                          9 lawyers?
    10      Q. Were some of these trusts settled before            10     A. I don't recall if this was on the e-mail
    11 OLPCCIL was created?                                        11 sent to Patricia. As I sit here, I don't recall if
    12      A. Yes. Olson Lemons.                                  12 this was on an e-mail sent to Patricia.
    13      Q. What is OLPC Lemons?                                13     Q. If it was not on an e-mail sent to
    14      A. Olson Lemons was a law firm in Calgary,             14 Patricia, does OLPC have any evidence that he shared
    15 Olson Lemons, LLP.                                          15 this with anyone but his own personal lawyers?
    16      Q. Okay. And what is the relationship                  16     A. As I sit here, not that I'm aware of.
    17 between Olson Lemons, LLP and OLPCCIL?                      17     Q. Okay. What is the damage to OLPC from
    18      A. They were two law firms in which I was              18 Ephraim's possession of this document?
    19 involved. There was no other sort of contractual            19     A. This is a document we would view as a
    20 relation between them OL, LLP. The clients, unless          20 confidential document held on behalf of the persons who
    21 they requested to stay, transferred over to OLPCCIL.        21 entrusted us with the document. And the ability of
    22      Q. And when did that transfer happen?                  22 OLPC -- OLPC has reputational damage, obviously, if it
    23      A. I believe it was in 2010.                           23 can't keep confidential information entrusted to it,
    24      Q. And was that documented in any way? Were            24 because it reflects on the entire law firm, including
    25 the clients requested to go to OLPCCIL?                     25 OLPCCIL.
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     1     Q. Does Ephraim's possession of this document            1     A. Proof? I'm not sure what you mean by
     2 prevent OLPC from taking any actions related to this         2 "proof," buy my understanding is that it requested Tim
     3 document; like can you amend it, can you draft it?           3 Akarapanich found a way to get around the system and
     4     A. Can OLPC amend this document?                         4 get into the server and download this document, which
     5     Q. Yes. The native. The original.                        5 he then passed on to Ephraim.
     6     A. Can someone at OLPC physically amend the              6     Q. Okay. What is the damage to OLPC's
     7 document?                                                    7 clients for Ephraim having possession of this document?
     8     Q. Yes.                                                  8     A. Again, it goes to the point that we have
     9     A. If they were authorized and had access to             9 an obligation to protect confidential information of
    10 it.                                                         10 our clients. And when we fail to do that, that has an
    11     Q. Okay.                                                11 impact on our trustworthiness and our credibility.
    12         (EXHIBIT 13 WAS MARKED.)                            12     Q. Does Ephraim's possession of this document
    13     Q. What is this document, Mr. Olson?                    13 preclude OLPC, OLPCCIL, or its clients from exercising
    14     A. Carolyn Olson Spousal Trust.                         14 any control over the trust?
    15     Q. Who created this document?                           15     A. Can you repeat the question?
    16     A. I don't know who physically created the              16     Q. Yes. Does Ephraim's possession of this
    17 document, but this was my trust, it was prepared on my      17 document preclude OLPC, OLPCCIL, or the client from
    18 behalf.                                                     18 exercising any control over the trust?
    19     Q. Okay. When was it created?                           19     A. No.
    20     A. The actual date of creation, I don't know            20     Q. What is the proof that OLPC has that
    21 that. The trust was effective as of February 2, 2000.       21 Ephraim Olson shared this document with anyone but his
    22     Q. Okay. And was it created for OLPC?                   22 personal lawyers?
    23     A. This document was -- when you say "created           23     A. Because this trust document shows up in
    24 for OLPC," I don't understand the question. It was          24 Carolyn's counter-petition, as I recall. And I believe
    25 created for me.                                             25 this may or may not have been listed in the --
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     1     Q. For you as an individual?                             1 somewhere in the Mareva injunction or some other
     2     A. As the grantor, yes.                                  2 lawsuit.
     3     Q. Who was the client that this document                 3      Q. So the only proof is that it potentially
     4 belongs to?                                                  4 came up in your divorce proceeding; is that right?
     5     A. Well, this was -- this document was                   5          MR. JORDAN: Objection. Misstates his
     6 created for me. This document belongs to me because I        6 testimony.
     7 was the grantor and asked it be created.                     7      A. I think it has appeared in multiple
     8     Q. What is the entity that represents you?               8 lawsuits.
     9     A. The entity that represents me is OLPCCIL,             9      Q. Okay. But what is the proof that Ephraim
    10 and any other entity that performs services on my           10 is the individual that provided that document?
    11 behalf.                                                     11      A. That's an ongoing investigation.
    12     Q. And do you have an engagement agreement              12      Q. Okay.
    13 with OLPCCIL?                                               13          (EXHIBIT 14 WAS MARKED.)
    14     A. A written agreement? A written engagement            14      Q. What is this document?
    15 agreement?                                                  15      A. It's a trust deed.
    16     Q. Yes.                                                 16      Q. Who created this document?
    17     A. No. Not that I recall.                               17      A. I don't know the lawyer that prepared the
    18     Q. Okay. What corporate entity maintains                18 document, but it was prepared for Bruce Lemons as a
    19 possession of this document?                                19 client.
    20     A. OLPCCIL.                                             20      Q. Okay. So this document belongs to Bruce
    21     Q. Is this one of the documents that OLPC               21 Lemons?
    22 alleges Ephraim improperly took from the server?            22      A. This document was prepared for Bruce
    23     A. Yes.                                                 23 Lemons, that's correct.
    24     Q. What is the proof that Ephraim obtained              24      Q. What corporate entity maintains possession
    25 this document from the OLPCCIL server?                      25 of this document?
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     1      A. OLPCCIL.                                               1 question. You're saying if he physically had this in
     2      Q. Did Bruce Lemons sign an engagement                    2 his hands --
     3 agreement for the representation of OLPCCIL?                   3     Q. Yes.
     4      A. I am not -- I do not recall whether he                 4     A. -- and it went nowhere else does that stop
     5 signed a written engagement agreement.                         5 OLPCCI from taking instructions on dealing with the
     6      Q. Okay. Is this a document that OLPC                     6 trust instrument? Is that what you're saying? I
     7 alleges Ephraim improperly obtained from the server?           7 didn't understand.
     8      A. I just want to make sure which one this                8     Q. Yes.
     9 is, sorry.                                                     9     A. That's what you're saying?
    10          Yes.                                                 10     Q. Yes.
    11      Q. Okay. And is the only proof that OLPC has             11     A. No.
    12 of that, the fact that Ephraim got this from Tim A.?          12     Q. Okay.
    13          MR. JORDAN: Tim A. is Akarapanich?                   13         (EXHIBIT 15 WAS MARKED.)
    14          MS. VAUGHN: Yes. I just don't feel like              14     Q. Is this another document that OLPC alleges
    15 butchering his name every time, so I'm just saying "Tim       15 Ephraim obtained from the server?
    16 A."                                                           16     A. Yes.
    17      A. No. This document shows up in several                 17     Q. Who is the corporate entity that maintains
    18 pieces of litigation.                                         18 possession of this document?
    19      Q. (By Ms. Vaughn) Okay. But what is the                 19     A. OLPCCIL.
    20 proof that Ephraim obtained this from the server?             20     Q. Who is the client to which this document
    21      A. Because Tim Akarapanich got into our                  21 belongs?
    22 server and was able to retrieve the document, and then        22     A. Well, this document originally belonged to
    23 downloaded it and sent it to Ephraim.                         23 me and to Carolyn as settlors of the trust, and was
    24      Q. Okay. Does Ephraim's possession of this               24 subsequently used by the trustee of the trust.
    25 document prevent OLPC, OLPCCIL, or its clients, from          25     Q. Do you know who the current trustee is?
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     1 taking any actions respective to the trust?                    1      A. Current trustee is Hyrum Olson.
     2      A. At any time? What time frame are you                   2          That's H-Y-R-U-M.
     3 talking about?                                                 3      Q. Besides the fact that Ephraim obtained
     4      Q. Any time post Ephraim's possession of this             4 this document from Tim A., is there any evidence that
     5 document. Any time post 2020.                                  5 it came from the server?
     6      A. Yes. I believe that when Buffalo Trust                 6      A. Tim Akarapanich identified that he went
     7 was listed in the Mareva injunction.                           7 into the server, retrieved this document, downloaded
     8      Q. Well, the prevention of acting on that                 8 it, and sent it to Ephraim.
     9 trust is related to the Mareva injunction, not purely          9      Q. Where did he identify that?
    10 Ephraim's possession, correct?                                10      A. Where did he identify that?
    11          MR. JORDAN: Objection. Argumentative.                11      Q. Yes.
    12      A. Neither the law firm nor the trustee nor              12      A. He told me that. He told others that,
    13 the protector I think was able to deal with aspects of        13 too. May I look at his declaration or is that not
    14 this trust as a result of the Mareva injunction.              14 necessary? Yeah, he told me that, so that's how I
    15      Q. Okay. And that is what prevented                      15 know.
    16 amendments to the trust or any actions under the trust,       16          (EXHIBIT 16 WAS MARKED.)
    17 is the Mareva injunction?                                     17      Q. Is this another document that OLPC alleges
    18      A. Well, the Mareva injunction prevented the             18 Ephraim improperly obtained from the server?
    19 trustee or anyone from doing anything with respect to         19      A. Yes.
    20 certain aspects of the operation of the trust. That's         20      Q. And besides obtaining it from Tim A., and
    21 what you're asking?                                           21 Tim A.'s representation to you, is there any proof that
    22      Q. I'm asking if Ephraim's possession of the             22 this came from the server?
    23 document prevents someone, disregarding the Mareva            23      A. Not that I'm aware of as I sit here.
    24 injunction, from taking action under the trust.               24      Q. Who is the corporate entity that holds
    25      A. Are you saying -- I don't understand                  25 this document?
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     1         (EXHIBIT 20 WAS MARKED.)                              1 years ago. I don't recall when.
     2     Q. Is this another document that OLPC alleges             2     Q. And who is the client to which the Carolyn
     3 came from the server?                                         3 Olson Spousal Trust belongs?
     4     A. Yes.                                                   4     A. Who is -- sorry, what's the question?
     5     Q. Beyond Tim A.'s representation and the                 5     Q. Who is the OLPCCIL client to which the
     6 ongoing investigation, sitting here today what evidence       6 Carolyn Olson Spousal Trust belongs?
     7 do you have that this came from the server?                   7     A. Well, Carolyn Olson Spousal Trust was
     8     A. If this information had been had by                    8 settled by me, so I obtained it in my capacity as the
     9 Ephraim otherwise, there would have been no reason to         9 settlor.
    10 request it.                                                  10          Let's pull it up here.
    11     Q. Who is the client that this document                  11          MR. JORDAN: 13.
    12 belongs to?                                                  12     A. And we did represent my father, Jack Olson,
    13     A. This was in the possession on behalf of               13 as trustee in that trust for some period of time. For
    14 the settlor, who was Jack Hardy Olson.                       14 the entire time he was the trustee.
    15     Q. Who is the corporate entity that holds                15     Q. Okay.
    16 this document?                                               16          (EXHIBIT 21 WAS MARKED.)
    17     A. OLPCCIL.                                              17     Q. I understand it's now noon, but we are
    18     Q. And what is the proof that Ephraim                    18 almost to the end of this category of documents so I'd
    19 provided this document to anyone but his personal            19 like to just push through if you are okay with that,
    20 lawyers?                                                     20 Mr. Olson.
    21     A. I believe this shows up in a number of                21          MR. JORDAN: That's fine.
    22 lawsuits.                                                    22     A. I am fine.
    23     Q. What are those lawsuits again?                        23     Q. Is this another document that OLPC alleges
    24     A. Well, there's the matrimonial matter.                 24 came from the server?
    25 There are Mareva injunctions and several matters in          25     A. Number 21?
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     1 Alberta. And Ephraim informed -- he had, two days ago         1     Q. Yes.
     2 -- apparently there are other matters pending that may        2     A. Yes.
     3 or may not include this.                                      3     Q. And besides Tim A.'s representation and
     4     Q. But you don't know that?                               4 the ongoing investigation, sitting here today what
     5     A. I don't know what's in those matters.                  5 proof do you have that this came from the server?
     6     Q. Okay. And the matters that these                       6     A. Because there was no reason for this to be
     7 documents were used in, those are all cases in which          7 outside otherwise. And it was sent to Ephraim and
     8 you are personally named, correct?                            8 Carolyn, and so the only -- so what other proof? I
     9     A. Well, I and perhaps others.                            9 don't have any other proof other than that. Other than
    10     Q. But are you personally named?                         10 any other ongoing analysis that maybe somebody is
    11     A. I am one of the persons named, yes.                   11 doing.
    12     Q. Okay. Is OL Private Counsel, OLPC, the                12     Q. And what is the corporate entity that
    13 plaintiff in this lawsuit, named in those other              13 holds this document.
    14 actions?                                                     14     A. OL Private Counsel International, limited.
    15     A. I don't recall.                                       15     Q. Okay. Who is the current trustee of this
    16     Q. Okay. I want to just double back. We                  16 trust?
    17 looked at the Carolyn Olson Spousal Trust, Exhibit 13,       17     A. Hyrum Olson.
    18 I believe. Yeah, 13. Is Ephraim Olson the current            18     Q. Okay.
    19 trustee of the Carolyn Olson Spousal Trust?                  19         (EXHIBIT 22 WAS MARKED.)
    20     A. As far as I know.                                     20     Q. Is this another document that OLPC alleges
    21     Q. Okay. Does OLPCCIL currently represent                21 came from the server?
    22 the Carolyn Olson Spousal Trust?                             22     A. Yes.
    23     A. No.                                                   23     Q. Okay. Besides Tim A.'s representation,
    24     Q. When did that representation end?                     24 what is the support for that statement?
    25     A. I don't know. It would have been some                 25     A. Prior to the ongoing investigation, this
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     1 document would not have been kept in any type of paper      1     Q. Okay. And what is the evidence that
     2 form and would only have been available by going into       2 Ephraim has shared this document with anyone?
     3 the serve ever and retrieving it.                           3     A. Much information contained in various
     4     Q. What is this document?                               4 lawsuits and this document. There may or may not have
     5     A. This appears to be a director's resolution           5 been information on this document that was put into
     6 of OL Private Counsel PTE, LTD., and a further document     6 those lawsuits.
     7 appointing auditors.                                        7     Q. Okay.
     8     Q. Why were the auditors appointed?                     8     A. Or given to counsel in preparation for the
     9     A. Because auditors are required. At the                9 lawsuits.
    10 time auditors were required, I believe, to -- let me       10     Q. Okay. The besides the OLPC PTE, the two
    11 just see if we waived them or if they are still            11 documents we just went over, and disregarding the
    12 required. So we appointed auditors under Singapore         12 Mareva injunction, does Ephraim's possession of the
    13 law.                                                       13 trust documents prevent the trustees or OLPC from
    14     Q. Okay. Is this a document that's ever                14 taking any actions respective to the trust?
    15 filed with a government agency?                            15     A. I don't think I understand the question.
    16     A. Not to my knowledge. Lawyers would know,            16 When say -- you're asking if the law firm could take
    17 but I don't believe so. I believe this is just kept in     17 any action with respect to the trust. I'm not sure
    18 the corporate head offices.                                18 what you are referring to, "any action."
    19     Q. Was it ever subject to inspection by a              19     Q. Does Ephraim's possession of just a copy
    20 government agency?                                         20 of a trust document prevent anyone from taking actions
    21     A. Well, I don't know if -- I don't know if            21 respective to the trust?
    22 this document could be. It's possible. But I don't         22         MR. JORDAN: You want him to exclude the
    23 know that it could be. I'm not aware.                      23 Mareva injunction?
    24     Q. Okay. What makes this document                      24         MS. VAUGHN: Yes.
    25 confidential?                                              25     A. "Taking actions" meaning what?
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     1     A. Because it's a resolution of a private               1     Q. Distributing funds, making amendments, any
     2 corporation. It's not a public document.                    2 actions that the trust would take.
     3     Q. That makes it private. What makes it                 3     A. No. Not that I can think of.
     4 confidential?                                               4     Q. Okay. This is a good breaking point. Why
     5         MR. JORDAN: Objection.                              5 don't we take lunch.
     6     Q. What in here is confidential information?            6         (Break taken from 12:09 to 1:23 p.m.)
     7         MR. JORDAN: Objection. Ambiguous.                   7     Q. I want to circle back a little bit. You
     8     A. Any activities of a corporation, a private           8 mentioned that the server is accessed via VPN. Is that
     9 corporation, are confidential. They are not for public      9 different from a remote desktop, do you know?
    10 distribution.                                              10         MR. JORDAN: Objection. Ambiguous.
    11     Q. And OL Private Counsel PTE's corporate              11     A. To my understanding a remote desktop is a
    12 documents are stored on the OLPCCIL server?                12 computer that, to get in the main section of the
    13     A. They are.                                           13 server, requires a VPN. It's a special connection into
    14         (EXHIBIT 23 WAS MARKED.)                           14 the server.
    15     Q. Is this another document that OLPC alleges          15     Q. Okay. Now the documents we went over
    16 Ephraim obtained from the server?                          16 before the break, I'm going to call them the trust
    17     A. Yes.                                                17 related documents, I believe you testified that all of
    18     Q. And besides Tim A.'s representation and             18 them were stored on OLPCCIL's server, correct?
    19 the ongoing investigation, what is the evidence for        19     A. Some portion of the server. That's my
    20 that?                                                      20 understanding.
    21     A. No one would have had access to this                21     Q. But this lawsuit is being brought on
    22 document other than being on the server, other than        22 behalf of OLPC, correct?
    23 perhaps corporate counsel in Singapore. This would not     23     A. Yes.
    24 be a document available to anybody else except on the      24     Q. Okay. But the documents belonged to
    25 server.                                                    25 OLPCCIL, correct?
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     1     A. Yeah. The documents belonged to OLPCCIL,             1     Q. Do you know what that law firm is that he
     2 but OLPC has access to them for its purposes. And all       2 references there?
     3 members of OLPC.                                            3     A. I don't know what that law firm is.
     4     Q. And so wouldn't OLPCCIL also have a claim            4     Q. Okay. Do you contract with Mr. Daniels or
     5 against Ephraim Olson for the alleged improper              5 is he a W-2 employee?
     6 conversion of these documents?                              6     A. We may well contract with him. It's
     7         MR. JORDAN: Objection. Calls for a legal            7 possible. I don't recall.
     8 conclusion.                                                 8     Q. Okay. And would you contract with his law
     9     A. I don't know that they would have a                  9 firm or with him as an individual?
    10 separate claim, because they didn't employ him. I          10     A. Again, I don't recall how that would work.
    11 don't know the answer to that.                             11     Q. Are you capable of making that
    12     Q. Okay. Does PTE have ownership of any of             12 determination at a future date?
    13 these documents?                                           13     A. I could go back and find some contracts.
    14     A. It can have use of the documents for                14     Q. Okay.
    15 purposes of doing legal work for clients, but it           15     A. Or some pay stubs or something that would
    16 doesn't have -- it doesn't own the documents.              16 give an indication.
    17     Q. Okay. Just like OLPC?                               17         (EXHIBIT 25 WAS MARKED.)
    18     A. Just like OLPC.                                     18     Q. Mr. Olson, this document has been labeled
    19     Q. Okay. So wouldn't PTE have the same right           19 in OLPC's Responses to Written Discovery as an alleged
    20 to sue Ephraim Olson for the alleged improper              20 converted document. This is an e-mail between Tim A.
    21 conversion of these documents?                             21 and Joshua Olson, correct?
    22         MR. JORDAN: Same objection. Calls for a            22     A. 6-6-20. Josh Olson's screenshot, yes.
    23 legal conclusion.                                          23     Q. And then the screenshot is the attachment
    24     A. Ephraim Olson was not an employee of Olson          24 to the e-mail.
    25 Lemons, Private Counsel PTE, LTD.                          25     A. Yes.
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     1     Q. But OLPC is not just suing Ephraim Olson             1      Q. I wanted to understand the allegation. Is
     2 pursuant to an employment agreement, is it?                 2 the allegation that the e-mail from Tim A. is
     3     A. It's pursuant to his relationship with the           3 converted, or just the screenshot?
     4 firm as a lawyer.                                           4          MR. JORDAN: What were the two options?
     5     Q. Okay. One second. I printed some stuff               5          MS. VAUGHN: The e-mail itself being the
     6 during the break and I want to grab it.                     6 converted document.
     7         (Break taken from 1:26 to 1:27 p.m.)                7          MR. JORDAN: Without the attachment?
     8     Q. During the break I went on to the Utah Bar           8          MS. VAUGHN: With the attachment. Or is
     9 website and tried to find the Seth you referenced that      9 it the attachment that's the converted document.
    10 currently works for OLPC. Tell me if these names sound     10      A. Well, the attachment is a confidential
    11 familiar to you.                                           11 record. Without the attachment I don't -- I mean, I
    12     A. I think I remembered. It's Seth Daniels.            12 don't know. I don't know that this would be
    13     Q. Okay. Great. Let's mark this as Exhibit             13 necessarily a converted document. I don't know that.
    14 24.                                                        14      Q. Okay.
    15         (EXHIBIT 24 WAS MARKED.)                           15      A. But certainly the confidential document is
    16     Q. Is that the Seth Daniels that is currently          16 the attachment.
    17 employed at OLPC as a lawyer?                              17      Q. Okay. And is this a document that OLPC
    18     A. Yes.                                                18 alleges Tim A. improperly obtained from the server?
    19     Q. Okay. Why does he not tell the Utah State           19      A. I believe this is one of them, yes.
    20 Bar that he works at OLPC?                                 20      Q. Okay. It's a screenshot of an e-mail,
    21         MR. JORDAN: Objection. Calls for                   21 correct?
    22 speculation.                                               22      A. It looks like some kind of a screenshot,
    23     Q. Do you know why he does not tell the Utah           23 uh-huh (affirmative).
    24 State Bar that he works at OLPC?                           24      Q. Okay. What is the proof that Tim A.
    25     A. I don't know the answer to that.                    25 obtained this document, this e-mail, from the server?
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